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                                                                                  MAY I 8 2020             J
                          IN THE UNITED STATES DISTRICT COl
                         FOR THE EASTERN DISTRICT OF VIRG NIA
                                                                              CLERK, U.S. DISTRICT COURT
                                     ALEXANDRIA DIVISION                          ALFXANDRIA. VIRGIMA



  AMAZON.COM,INC. and AMAZON
  DATA SERVICES,INC.,

                  Plaintiffs.


          V.                                                    CASE NO. I:20-CV-484


   WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS: BRIAN
  WATSON; STERLING NCP FF. LLC:                        FILED UNDER SEAL PURSUANT TO
  MANASSAS NCP FF, LLC; NSlPi                          LOCAL RULE 5
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; JOHN DOES 1-20,

                  Defendants.




                 DECLARATION OF LUKE GILPIN IN SUPPORT OF
    PLAINTIFFS' SUPPLEMEN i AL MEMORANDUM IN SUPPORT OF SHOW CAUSE
      ORDER AND PLAINTIFFS'/J PLICATION FOR PRELIMINARY INJUNCTION


          I, Luke Gilpin, hereby declare, under penalty of perjury, as follows:

          1.      I am over the age of 18 years. I have personal knowledge of the facts set forth

   below, and if called upon to do so, I could and would competently testify thereto.

          2.      I am a Vice President oflPI Partners ("IPI"), an SEC-registered investment adviser

  that manages a fund that makes real estate inve.stments in technology and connectivity-related real

  assets. 1 have been employed by IPI for approximately 3 years. I make this declaration in support

  of Amazon.com, Inc. and Amazon Data Services, Inc.'s (collectively "Plaintiffs", "Amazon", or

  the "Company") Supplemental Memorandum in Support of Show Cause Order and Plaintiffs'

  Application for Preliminary Injunction in the above-referenced case.
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